Case: 2:12-cv-00445-MHW-KAJ Doc #: 128 Filed: 08/28/18 Page: 1 of 1 PAGEID #: 3738
**AO 450 (Rev. 5/85) Judgment in a Civil Case

                     UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO

                                                JUDGMENT IN A CIVIL CASE

In Re Big Lots, Inc.
Shareholder Litigation

                                                     Case No. 2:12-cv-445

                                                     Judge Michael H. Watson




[] Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

[] Decision by Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

[X] Decision by Court. This action was decided by the Court without a trial or hearing.

IT IS ORDERED AND ADJUDGED that pursuant to the August 28, 2018 Opinion and
Order, the Court GRANTS the unopposed motion for final approval of the settlement;
the Court GRANTS the unopposed motion for an award of attorney’s fees and
expenses; this action is DISMISSED with prejudice.


Date: August 28, 2018                           Richard W. Nagel, Clerk




                                                  s/ Jennifer Kacsor
                                                By Jennifer Kacsor/Courtroom Deputy
